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             EXHIBIT C
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Neutral Citation Number: [2012] EWCA Civ 567
                                                     Case No: A3/2011/2018 & 2018(Y)

IN THE COURT OF APPEAL (CIVIL DIVISION)
ON APPEAL FROM THE HIGH COURT OF JUSTICE
CHANCERY DIVISION (PATENTS COURT)
The Hon Mr Justice Floyd
[2011] EWHC 1470 (Pat)
                                                                Royal Courts of Justice
                                                           Strand, London, WC2A 2LL

                                                                      Date: 10/05/2012

                                      Before:

                             LORD JUSTICE LAWS
                           LORD JUSTICE ETHERTON
                                     and
                            LORD JUSTICE KITCHIN
                            ---------------------
                                   Between:

                          Nokia OYJ (Nokia Corporation)                   Claimant/
                                                                          Appellant
                                      - and -

                             IPCom GMBH & Co KG                          Defendant/
                                                                         Respondent

                             ---------------------
                             ---------------------

         Richard Meade QC and James Abrahams (instructed by Bird & Bird LLP)
                                for the Claimant/Appellant
               Iain Purvis QC and Brian Nicholson (instructed by Bristows)
                              for the Defendant/Respondent

                        Hearing dates: 27/28/29 February 2012
                            ---------------------




                           Approved Judgment
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Lord Justice Kitchin:

Introduction

1.       This is an appeal by Nokia from the judgment of Floyd J of 16 June 2011 whereby he
         held IPCom’s European Patent (UK) 1 841 268 (“the patent” or “the 268 patent”)
         partially valid and infringed by certain Nokia mobile phone devices referred to as the
         A1 and the A2. He found that certain other Nokia devices did not infringe. He also
         gave IPCom permission to amend the patent to cure its partial invalidity.

2.       By this appeal, Nokia challenges the finding of the judge that the patent was valid in
         its amended form, and his finding that it was infringed by the Nokia A2 device.

3.       Nokia is a well known designer and manufacturer of mobile phones. IPCom is the
         owner of the telecommunication patent portfolio developed by Robert Bosch GmbH
         (“Bosch”). In the 1990s, Bosch invested very substantial sums in research into
         mobile telecommunication technology which led to what has now become IPCom’s
         patent portfolio.

4.       This is the latest round in a long running dispute between the parties. The patent was
         divided out of another of IPCom’s patents, European Patent (UK) 1 186 189 (“the 189
         patent”). The 189 patent was revoked by Floyd J following a judgment dated 18
         January 2010 (“the 189 judgment”) in other proceedings between the parties. An
         appeal against the judge’s refusal to permit IPCom to amend the 189 patent was
         unsuccessful.

5.       Nokia brings this appeal with the permission of the judge, save in respect of the issue
         of obviousness over the common general knowledge. As to that, by order dated 1
         November 2011, I adjourned the application by Nokia for permission to appeal to the
         hearing of the substantive appeal. We heard full argument on the point from Mr
         Richard Meade QC on behalf of Nokia and from Mr Iain Purvis QC on behalf of
         IPCom and I think it is therefore appropriate formally to grant permission and address
         the issue on the merits.

6.       The issues on this appeal are therefore:

         i)       Is the patent invalid for added matter?

         ii)      Is the patent invalid for obviousness over the common general knowledge?

         iii)     Is the patent invalid for obviousness over the prior art mobile telephone system
                  called GSM/GPRS?

         iv)      Is the patent invalid for obviousness over a document called Farsta?

         v)       Is the patent invalid for insufficiency?

         vi)      Does the Nokia A2 device infringe the patent?
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Technical background and common general knowledge

7.       The judge identified the skilled addressee of the patent as an engineer or team of
         engineers concerned with developing mobile phones for use in the UMTS mobile
         telecommunications standard, and in particular with developing systems for
         controlling access to an uplink channel, that is to say, from mobile phone to base
         station, called the random access channel or RACH. This is a shared channel which is
         used by all the mobiles in a base station’s cell to ask the network, via the base station,
         for a dedicated channel when they want to make a call, receive a call or use one of the
         other available facilities such as internet browsing.

8.       The RACH can accommodate some degree of simultaneous access attempts but,
         should demand become too great, user signals may collide with each other with the
         result that only some and, on occasions, hardly any, will manage to get through. This
         competition for the RACH is called “contention” and when two or more users block
         each other, this is called a “collision”.

9.       The skilled addressee would have known that one of the ways of dealing with
         contention on the RACH is to limit the mobiles’ attempts to request access to it. This
         is done by the base station broadcasting to the mobiles in its cell rules for RACH
         access. This it does on a channel called the broadcast control channel or BCCH. Two
         well known sets of rules for limiting access to the RACH are the “lottery” and “access
         classes”. They were described by the judge in his 189 judgment in these terms:

               “Contention on a shared channel

                194. Where the uplink from a mobile station is a shared random
                access channel, there is a danger of collision between users’
                signals, allowing stronger signals through and preventing weaker
                ones. This competition is called “contention”. It can be tackled
                in numerous ways. One set of ways in which the problem is
                tackled is by restricting access to the channel.

               The “lottery”

                195. One well known way of restricting access to the channel
                involved a form of lottery. “Lottery” is not a term of art, but is a
                convenient term to provide an analogy for what is done. Each
                mobile station generates for itself a random number and
                compares it with a value sent by the network. A “win” can be
                defined as generating a random number greater than or equal to
                the transmitted value. So, for example, the possible transmitted
                numbers could be 1 to 10, and the random numbers could be 1 to
                9. If the base station transmits a 10, no mobile will get onto the
                channel, but if it transmits a lower number than 10 an increasing
                proportion of mobiles can get on. At busy times the access can
                be throttled back to prevent collision. At very low usage times
                the transmitted value could be 1, and all mobiles would get
                access.

               ….
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               Access classes

                197. Systems in which certain classes of user (user classes or
                access classes) could be restricted from access were also well
                known. For example class barring, under which a mobile of a
                particular class would be barred from access absolutely, was a
                feature of the GSM/GPRS system. …

               Transmission capacity

                198. Bandwidth is a scarce resource in any mobile telephone
                system. Designers of such systems would try to arrange matters
                so as to minimise the amount of data that had to be sent routinely.
                One common general knowledge way of limiting the amount of
                data to be sent is the use of single bit flags, which alert the
                mobile to the fact that data is coming. This allows the network
                only to send the data when the flag is set.”

10.      As the judge explained, the skilled addressee would also have known of the various
         mobile telecommunications standards including, specifically, GSM, GSM/GPRS and
         IS-95. GSM used class barring. GSM/GPRS and IS-95 used both class barring and
         the lottery but combined them in different ways. In GSM/GPRS, the second
         generation or “2G” modification of GSM, there was first, class barring and second,
         survivors of the class barring could be subjected to the lottery.

11.      By the date of the application for the patent the UMTS standard was in contemplation.
         This is a third generation or “3G” system.

12.      The judge summarised the common general knowledge in relation to UMTS in these
         terms at [10]:

               “UMTS is a code division multiple access system (CDMA). The
               details of CDMA do not matter for present purposes except in very
               limited respects. One aspect of CDMA is that of frequency
               sharing between channels. This means that there is at least the
               potential for channels to interfere with each other. Interference is
               a function of the load carried by the channel. A second point is
               that it was envisaged at the priority date that, in UMTS, the use of
               the RACH would not be restricted to the sending of channel
               requests. It would also be used to send small data packets.
               Thirdly, it was clear that UMTS would offer multiple services,
               including voice and at least one type of data service. These are
               points which are relied on by Nokia to suggest that a random
               access scheme for UMTS required more in the way of flexibility
               than was necessary for earlier schemes.”

The disclosure of the application

13.      At the hearing of the appeal, Nokia quite properly focused on the disclosure of the
         application, this being the basis for their various added matter objections. For
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         convenience, the parties used a translation of the priority document for the 268 patent
         which, as we were told, is in the same form as the application as filed, WO 00/54534.

14.      The application is entitled “Method for allocating access rights to a
         telecommunications channel to subscriber stations of a telecommunications network
         and to a subscriber station”. It then provides a description of the “prior art” which
         includes, at paragraph [0002], reference to an earlier German patent application which
         used class barring but did not use a lottery.

15.      There follows a description of the “Advantages of the invention”. The first
         paragraph, [0005], mirrors claim 1 of the application and, as the judge held at [24],
         would be achieved by the lottery-based approach to access which was common
         general knowledge at the date of the patent. The paragraph concludes:

               “This access control uses a minimum of transmission capacity for
               transmitting the information signals, since it is effected merely by
               transmitting the access threshold value.”

         This, Mr Meade submitted, conveys to the skilled reader that an important aspect of
         the invention is the provision of a system which saves transmission capacity, a
         recurring theme throughout the application.

16.      Paragraph [0006] continues:

               “The measures cited in the subclaims permit advantageous
               developments of and improvements to the method specified in the
               independent Claim 1.”

         The reader is therefore told that the subclaims contain various optional elements
         which are not necessary for the invention in its widest form but which may provide
         additional advantages.

17.      The application then provides, at paragraph [0007], a description of control based
         upon user class. It says:

               “This permits subscriber stations of a prescribed user class to be
               authorized to use the telecommunications channel even if the
               random distribution by means of access threshold value would not
               authorize them to access this telecommunications channel. Thus,
               by way of example, subscriber stations for emergency services,
               such as the police or the fire brigade, can be associated with such a
               prescribed user class and can then access the telecommunications
               channel with priority irrespective of the random distribution by
               corresponding access threshold value information.”

18.      This paragraph therefore introduces the notions of restricting access based on a lottery
         and granting access based on prescribed class. However, it is not clear whether they
         may be combined and, if so, how this may be done. In short, this wording is apt to
         describe both the “10 bit” and “13 bit” embodiments to which I shall shortly come.
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19.      The application then proceeds to describe advantages of various different
         combinations of features. Paragraph [0008] introduces the concept of priority
         threshold values, the so called “P” bits. These provide what Mr Meade described as
         an additional layer of discrimination in the form of a priority lottery.

20.      Paragraph [0009] describes a further concept, the subject of claim 4 of the application.
         Here the evaluation unit in the mobile checks whether the access authorization data
         comprise subscriber service information which indicates whether access to a
         telecommunications channel is enabled for the purpose of requesting particular
         telecommunications services. In colloquial terms, this is a description of a system for
         communicating to the mobile which services can be requested via the RACH. This is
         said to save transmission capacity because, for each of the pre-selected user classes,
         only the specified services can be requested. It is a description of what are referred to
         later as the “D” bits.

21.      Finally, in this regard, I should refer to paragraph [0010]. This contains a general
         description of a system in which the access authorization information comprises either
         an access threshold value or access class information, but not both together, so
         allowing a reduction in the required transmission capacity.

22.      The application then continues with a “Description of the exemplary embodiments”.
         Figure 1 shows details from a mobile phone network; figure 2 shows a block diagram
         of a subscriber station, that is to say a mobile; figures 3a-3c show three different bit
         patterns which can be used with the invention; and figure 4 shows a flow chart for the
         way in which an evaluation unit in the mobile of the invention works. It is split into
         figures 4a-4c.

23.      Paragraph [0014] explains that the network operator may supply different
         telecommunications services. Paragraph [0015] says that these may be made available
         individually or in combination and paragraph [0016] continues that these services
         need to be requested by the mobile, and this is normally achieved via the RACH.

24.      Paragraph [0017] says that if two messages collide on the RACH then neither will get
         through and the base station will be unable to respond. After a prescribed time the
         mobile will send the message again and this may cause the RACH to become
         overloaded. Paragraph [0018] explains that it is possible to prevent this overload by
         restricting access to the RACH by individual mobiles. For example, access to the
         RACH may only be permitted for particular user classes on a temporarily or
         permanently privileged basis. Paragraph [0019] then says that the network operator
         uses information signals transmitted from the base station to inform individual
         mobiles which rights have been assigned to them.

25.      Paragraph [0020] expands that the base station transmits information signals at
         prescribed times. It concludes that in a first embodiment, the bit pattern can contain
         information regarding for which purpose and for which mobile stations access to the
         RACH is permitted – the D bits.

26.      Paragraph [0024] contains a description of the mobile depicted in figure 2 and its use
         in connection with the lottery. It says that a random scatter for access authorization is
         achieved by sending an access threshold value on the BCCH. The mobile comprises a
         transmission and reception unit which is connected to an evaluation unit which itself
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         accesses an access authorization card, such as a Subscriber Identity Module (SIM)
         card. The information signals transmitted via the BCCH are received by the reception
         unit. The access threshold value S is then supplied to the evaluation unit. Before any
         access to the RACH is permitted, the evaluation unit draws a random or pseudo
         random number R and checks whether this is at least as great as S. If it is, then access
         to the RACH is permitted.

27.      Thus far the application has described controlling access by class and by lottery, but
         not how they may be combined. Paragraphs [0025]-[0035] contain a description of the
         first (the 10 bit) embodiment, and one way of combining these concepts. It is depicted
         in figures 3a and b:




28.      Put shortly, access is conferred by lottery (figure 3a) or by class (figure 3b), but not
         by both together. The judge summarised the description of this embodiment at [33]-
         [35]:

                   “33.     These figures represent alternative bit patterns which
                   are transmitted by the network to the mobile stations on a
                   broadcast channel. The first bit in each pattern is an evaluation
                   bit S4. In figure 3a, S4 is 0 and will be used when the network
                   desires to control access by lottery. In figure 3b, S4 is 1 and
                   will be used when it is desired to control access by a class
                   method. When S4 is 0, the following four bits, S3, S2, S1, and
                   S0, are access threshold values. These four bits can be used to
                   transmit 16 different access threshold values to the mobile
                   stations (16 is the number of options that four binary bits gives
                   you). Of course, the same access threshold value will be sent to
                   all the mobile stations. The access threshold value can be set to
                   a greater or lesser value so as to throttle back access to the
                   network.

                   34.      In figure 3b the evaluation bit S4 is set to 1. In this
                   case the second, third, fourth and fifth bits are not defined as
                   access threshold value bits but rather as access class bits. So
                   this pattern will be used when it is desired to control access by
                   means of access classes. Each of the access class bits Z3, Z2,
                   Z1 and Z0 represents a particular user class. The arrangement
                   is such that if the access class bit has a value zero, then all the
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                   mobile stations in the associated user class can access the
                   random access channel. If the access class bit is set to 1, then
                   none of the mobile stations in that user class can access the
                   channel.

                   35.       At the end of paragraph [0033] [corresponding to
                   paragraph [0035] of the application], the specification explains
                   in summary that the S4 bit determines whether the second to
                   fifth bits are interpreted in line with the first bit pattern (figure
                   3a) or in line with the second bit pattern (figure 3b). It would
                   accordingly be understood that when the specification spoke
                   earlier about granting access irrespective of access threshold
                   value, it could be referring to sending the figure 3b bit pattern,
                   that is to say simply basing access on access class, when there
                   are no received access threshold value bits.”

29.      In addition to this summary, to which neither side took exception, I would emphasise
         two aspects of the description. First, the last sentence of paragraph [0025] states:

                   “It is possible to arrange for a telecommunications service to be
                   able to be used when the associated telecommunications service
                   bit has been set.”

         Mr Purvis, on behalf of IPCom, submitted, and I agree, this indicates this feature is
         optional.

30.      Second, paragraph [0033] explains that the evaluation unit in the mobile takes the
         association with a user class from the SIM card.

31.      The second (13 bit) embodiment is described from paragraph [0036] and depicted in
         figure 3c:




32.      It begins:

                   “In a second exemplary embodiment, in figure 3c, a third bit
                   pattern 55 having a bit length of 13 bits is transmitted from the
                   base station … to the mobile stations … with the information
                   signals. The third bit pattern 55 does not have an evaluation bit
                   S4 and therefore comprises both the access threshold value bits
                   S3, S2, S1, S0 and the access class bits Z3, Z2, Z1, Z0. In
                   addition the third bit pattern 55, like the first bit pattern 45 and
                   the second bit pattern 50 as well, comprises the
                   telecommunications service bits D2, D1, D0 and the priority
                   bits P1, P0. Mobile stations belonging to a user class for which
                   the associated access class bit = 0 are able to access the RACH
                   … irrespective of the access threshold value S and of the
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                   priority threshold value P and hence possibly without
                   evaluation thereof in the evaluation unit 60. Mobile stations
                   belonging to a user class whose associated access class bit has
                   been set to 1 and mobile stations which do not belong to a user
                   class, need to perform the access threshold value evaluation
                   already described in the first exemplary embodiment and
                   possibly, in addition, the priority threshold value evaluation
                   described in the first exemplary embodiment, in order to
                   ascertain their access authorisation for the RACH …”

33.      Access by class and access by the lottery have now been combined in a very different
         way. Both class information and access information are sent to the mobile in a 13 bit
         pattern. This pattern does not include an evaluation bit. Instead, mobiles belonging to
         a permitted class are able to access the RACH irrespective of their performance in the
         lottery. Mobiles which do not belong to a permitted class may nevertheless access the
         RACH if they are successful in the lottery. This was described during the course of
         the appeal as the “two routes of access” feature.

34.      This feature is emphasised by a further passage at the end of paragraph [0036]:

                   “In contrast to the first exemplary embodiment, the second
                   exemplary embodiment allows access to the RACH 30 not only
                   by mobile stations which can access the RACH 30 on account
                   of their association with a user class but also by such mobile
                   stations as draw a random or pseudo-random number R greater
                   than or equal to the access threshold value S and possibly have
                   a priority value above the priority threshold value P.”

35.      The contrast between this and the first embodiment is developed in paragraph [0037]:

                   “In comparison with the first bit pattern and the second bit
                   pattern, the access authorization information in the case of the
                   third bit pattern contains both the access threshold value bits
                   S3, S2, S1 S0 and the access class bits Z3, Z2, Z1, Z0.”

36.      The two routes of access feature provides what Mr Purvis described as horizontal and
         vertical control. The network provider can adjust the set of classes that do not have to
         win the lottery (horizontal control) and can separately adjust the access threshold
         value to make it harder or easier to win the lottery (vertical control). The judge put it
         this way at [40]:

                   “This passage is explaining that, in this embodiment, there are
                   mobiles which will be permitted to access the RACH due to
                   their class, as well as mobiles which will be able to access the
                   RACH only if they “win” the lottery. The skilled person would
                   therefore appreciate by this stage that, in this embodiment of
                   the invention, the network can discriminate between groups of
                   users, for example ensuring that the emergency services are
                   permitted access without having to do the lottery. He (or she)
                   would also appreciate that at the same time the network can
                   control the unfavoured users’ access to the RACH by means of
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                   the lottery, by appropriate setting of the access threshold value.
                   It would be clear that this functionality is additional to that
                   provided by the first embodiment.”

37.      He described it in similar terms at [55] when considering the invention claimed in the
         patent:

                   “Mr Gould [IPCom’s expert] summarises the invention as
                   providing, in a bandwidth efficient manner, a means for the
                   network dynamically to adjust specific groups of users into a
                   population with a priority access to the network independent of
                   access threshold while at the same time using that access
                   threshold to dynamically control the access of other users. He
                   explains that it is bandwidth efficient by saying that it is
                   possible only to send a single access threshold value, although
                   of course the claim is not so limited. Again, I think this
                   summary is a fair one to have in mind when considering the
                   issues in the case, although it is not, of course, a substitute for
                   the claims.”

38.      There is a further aspect of the description I would mention at this stage, namely the
         significance of the D bits and the P bits. I think it is clear that their relationship to the
         13 bit embodiment is the same as it is to the 10 bit embodiment. The two routes of
         access feature does not depend in any way upon the D bits or the P bits for its
         functionality.

39.      This point is emphasised by paragraph [0038]:

                   “The numbers of bits used in the first, second and third bit
                   patterns 45, 50, 55 for the access threshold value S, for the
                   access class information Z0, Z1, Z2, Z3, for the priority
                   threshold value P and for the subscriber service information
                   D0, D1, D2 are to be understood merely by way of example
                   and can be increased, for example for more extensive signalling
                   and can be reduced for bandwidth reduction. In this case, the
                   total length of the bit patterns 45, 50, 55 may also change. If
                   appropriate, individual information components can also be
                   omitted entirely.”

40.      That brings me to figure 4 and paragraph [0039] which respectively depict and
         describe a flowchart of the way in which the evaluation unit works in a system which
         incorporates both the 10 and 13 bit embodiments. It also includes a description of a
         processing scheme for the P bits and the D bits.

41.      The judge gave this explanation of figure 4 in his 189 judgment:

                   “222. The specification then goes on to describe, by reference
                   to figures 4a, 4b and 4c a flowchart for the way in which the
                   evaluation unit in the mobile works. I first set out figure 4a
                   substantially as annotated in the expert report of Dr Cooper
                   [Nokia’s expert]:
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                                            (13 bits)



                                            (10 bits)
                                                        Access class info present (Z)
               threshold
               present (S)?

                                                                             SIM contains
          read S,                                                            user class?
          get R

               threshold                                                     User class
               satisfied?                                                    permitted?
                                                  (Disable access)


                                                                          (enable access)




                   223. The evaluation unit is capable of evaluating both types of
                   bit pattern, that is to say the 10 bit pattern and the 13 bit
                   pattern. Nokia say this supports their view of the structure of
                   the specification. To a degree it does, as it is undoubtedly the
                   sort of evaluation unit one would need if one were arranging a
                   network to receive both the 10 bit and 13 bit embodiments. But
                   I do not think that alters the fact that the skilled person would
                   appreciate that the 13 bit embodiment could be used on its own
                   in a simpler evaluation unit, just as he would appreciate that the
                   10 bit embodiment could be so used on its own.

                   224. The first check which the unit performs is to determine
                   which of the two lengths of bit pattern is being transmitted. The
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                   flowchart then divides at box 200 to provide appropriate
                   processing for the different bit patterns.

                   225. For the 10 bit pattern, the first step is to evaluate the S4
                   bit to ascertain whether the four bits which follow are access
                   threshold value bits or access class bits. There is a further
                   branch at box 205 to accommodate each of these two
                   possibilities, and the logic follows the appropriate course
                   thereafter.

                   226. For the 13 bit pattern the evaluation unit knows that it will
                   be receiving both access threshold information and access class
                   information. This is shown in Figure 4c:




                                  (13 bits)

                        SIM contains
                        privileged user                          Go and check
                        class?                                   threshold

                                Privileged
                                user class
                                allowed?




                                                              (enable access)




                   227. So the unit checks the four access class bits (at box 285)
                   to check whether the user class ascertained for the mobile is
                   authorised for access. If so, access is granted subject to some
                   further hurdles. If not, there is a second branch which leads
                   back to the processing of threshold value at box 210 in Figure
                   4a. The processing of the 10 and 13 bit patterns is therefore
                   intertwined to this extent, but again the skilled person would
                   appreciate that this is not inevitably the case. An adapted
                   evaluation unit just for 10 or just for 13 bits would be
                   envisaged.”

42.      Finally I must refer to the claims. Claim 1 is to a method in which a mobile performs
         a lottery if it receives data from the base station indicating that it should do so. Claim
         2 introduces class based access, but it does not specify how it is to be combined with
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         the lottery. Claim 3 is directed to the P bits. Claim 4 is directed to the D bits. Claims 5
         and 6 are directed to the S4 bit.

The specification of the 268 patent

43.      The specification of the patent is different from that of the application in two respects
         upon which Nokia particularly focused. First, paragraph [0034] of the patent
         corresponds to paragraph [0036] of the application but has been amended to say that it
         describes the second exemplary embodiment which is based upon the invention
         described in the claims.

44.      The second is that the claims themselves have been redrawn. I need only refer to
         claim 1 which, as broken down into integers, reads:


            [A]            Mobile station for operation in a UMTS mobile radio network

            [B]           in which multiple user classes are distinguished

            characterized in that the mobile station is arranged

            [C]           to read a user class from a SIM card

            [D]           to receive access threshold value bits and access class information over a
                          broadcast control channel

            [E]           to determine an access threshold value from the access threshold value
                          bits

            [F]           to use the access class information relevant for the user class to
                          determine whether

            [G]           the mobile station is permitted to access a random access channel, for
                          example RACH, independent of the received access threshold value bits

            [H]           or whether the access permission for the random access channel, for
                          example RACH, is determined on the basis of an evaluation of the
                          access threshold value by comparison of the access threshold value with
                          a random number or pseudo random number.


Added matter

45.      Nokia puts its case on added matter in various ways. But they all have at their heart
         the same complaint. IPCom has, says Nokia, framed the patent to claim only the 13
         bit form of processing but, in doing so, generalised the way the 13 bit processing
         deals with the two independent routes of access feature, then drafted a claim based
         upon that generalisation while leaving out other aspects of the feature, and also
         including elements drawn from elsewhere in the application.
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Added matter – the law

46.      The objection is founded upon Article 123(2) EPC:

                   “A European patent application or a European patent may not
                   be amended in such a way that it contains subject matter which
                   extends beyond the content of the application as filed.”

47.      The test for added matter was stated by Aldous J in Bonzel v Intervention (No 3)
         [1991] RPC 553 at 574 in these terms:

                   “The decision as to whether there was an extension of
                   disclosure must be made on a comparison of the two documents
                   read through the eyes of a skilled addressee. The task of the
                   Court is threefold:

                   (1) To ascertain through the eyes of the skilled addressee what
                   is disclosed, both explicitly and implicitly in the application.

                   (2) To do the same in respect of the patent,

                   (3) To compare the two disclosures and decide whether any
                   subject matter relevant to the invention has been added whether
                   by deletion or addition. The comparison is strict in the sense
                   that subject matter will be added unless such matter is clearly
                   and unambiguously disclosed in the application either explicitly
                   or implicitly.”

48.      In Case G 2/10, 30 August 2011, the Enlarged Board of the EPO explained in similar
         terms that an amendment can only be made “within the limits of what the skilled
         person would derive directly and unambiguously, using common general knowledge,
         and seen objectively and relative to the date of filing, from the whole of the
         application as filed”.

49.      In Vector Corp v Glatt Air Techniques Ltd [2007] EWCA Civ 805, [2008] RPC 10,
         Jacob LJ elaborated aspects of the test to be applied and drew together various
         statements of principle from earlier cases at [4]-[9]:

                   “4. In Richardson-Vicks’ Patent [1995] RPC 568 at 576 I
                   summarised the rule in a single sentence:

                      “I think the test of added matter is whether a skilled man
                      would, upon looking at the amended specification, learn
                      anything about the invention which he could not learn from
                      the unamended specification.”

                   I went on to quote Aldous J in Bonzel. His formulation is
                   helpful and has stood the test of time.

                   5. The reason for the rule was explained by the Enlarged Board
                   of Appeal of the EPO in G1/93 ADVANCED
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                   SEMICONDUCTOR PRODUCTS/Limiting                   feature [1995]
                   EPOR 97 at [Reasons 9]:

                      “With regard to Article 123(2) EPC, the underlying idea is
                      clearly that an applicant shall not be allowed to improve his
                      position by adding subject-matter not disclosed in the
                      application as filed, which would give him an unwarranted
                      advantage and could be damaging to the legal security of
                      third parties relying upon the content of the original
                      application.”

                   6. Mr Richard Arnold Q.C. provided a clear articulation as to
                   how the legal security of third parties would be affected if this
                   were not the rule:

                      “The applicant or patentee could gain an unwarranted
                      advantage in two ways if subject-matter could be added:
                      first, he could circumvent the “first-to-file” rule, namely that
                      the first person to apply to patent an invention is entitled to
                      the resulting patent; and secondly, he could gain a different
                      monopoly to that which the originally filed subject-matter
                      justified.”

                   7. Kitchin J has recently helpfully elaborated upon the Bonzel
                   formulation in European Central Bank v Document Security
                   Systems [2007] EWHC 600 (Pat), 26th March 2007:

                      “[97] A number of points emerge from this formulation
                      which have a particular bearing on the present case and merit
                      a little elaboration. First, it requires the court to construe
                      both the original application and specification to determine
                      what they disclose. For this purpose the claims form part of
                      the disclosure (s. 130(3) of the Act), though clearly not
                      everything which falls within the scope of the claims is
                      necessarily disclosed.

                      [98] Second, it is the court which must carry out the exercise
                      and it must do so through the eyes of the skilled addressee.
                      Such a person will approach the documents with the benefit
                      of the common general knowledge.

                      [99] Third, the two disclosures must be compared to see
                      whether any subject matter relevant to the invention has been
                      added. This comparison is a strict one. Subject matter will be
                      added unless it is clearly and unambiguously disclosed in the
                      application as filed.

                      [100] Fourth, it is appropriate to consider what has been
                      disclosed both expressly and implicitly. Thus the addition of
                      a reference to that which the skilled person would take for
                      granted does not matter: DSM NV’s Patent [2001] RPC 25 at
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                      [195]-[202]. On the other hand, it is to be emphasised that
                      this is not an obviousness test. A patentee is not permitted to
                      add matter by amendment which would have been obvious
                      to the skilled person from the application.

                      [101] Fifth, the issue is whether subject matter relevant to
                      the invention has been added. In case G1/93, Advanced
                      Semiconductor Products, the Enlarged Board of Appeal of
                      the EPO stated (at paragraph [9] of its reasons) that the idea
                      underlying Art. 123(2) is that that an applicant should not be
                      allowed to improve his position by adding subject matter not
                      disclosed in the application as filed, which would give him
                      an unwarranted advantage and could be damaging to the
                      legal security of third parties relying on the content of the
                      original application. At paragraph [16] it explained that
                      whether an added feature which limits the scope of
                      protection is contrary to Art. 123(2) must be determined
                      from all the circumstances. If it provides a technical
                      contribution to the subject matter of the claimed invention
                      then it would give an unwarranted advantage to the patentee.
                      If, on the other hand, the feature merely excludes protection
                      for part of the subject matter of the claimed invention as
                      covered by the application as filed, the adding of such a
                      feature cannot reasonably be considered to give any
                      unwarranted advantage to the applicant. Nor does it
                      adversely affect the interests of third parties.

                      [102] Sixth, it is important to avoid hindsight. Care must be
                      taken to consider the disclosure of the application through
                      the eyes of a skilled person who has not seen the amended
                      specification and consequently does not know what he is
                      looking for. This is particularly important where the subject
                      matter is said to be implicitly disclosed in the original
                      specification.”

               8. When amendment of a granted patent is being considered, the
               comparison to be made is between the application for the patent, as
               opposed to the granted patent, and the proposed amendment (see
               the definition of ‘additional matter’ in s.76(l)(b)). It follows that by
               and large the form of the granted patent itself does not come into
               the comparison. This case was to some extent overcomplicated by
               looking at the granted patent, particularly the granted claim 1.

               9. A particular, and sometimes subtle, form of extended subject
               matter (what our Act calls ‘additional matter’) is what goes by the
               jargon term ‘intermediate generalisation’. Pumfrey J described this
               in Palmaz’s European Patents [1999] RPC 47, 71 as follows:

                   “If the specification discloses distinct sub-classes of the overall
                   inventive concept, then it should be possible to amend down to
                   one or other of those sub-classes, whether or not they are
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                   presented as inventively distinct in the specification before
                   amendment. The difficulty comes when it is sought to take
                   features which are only disclosed in a particular context and
                   which are not disclosed as having any inventive significance
                   and introduce them into the claim deprived of that context. This
                   is a process sometimes called “intermediate generalisation”.”

50.      In Napp Pharmaceutical Holdings Ltd v Ratiopharm [2009] EWCA Civ 252, [2009]
         RPC 18, Jacob LJ re-emphasised at [98]-[99] that not everything falling within the
         scope of a claim is necessarily disclosed:

                   “98. We can deal with this quite shortly. The added subject-
                   matter is said to be contained in claim 6. Mr Silverleaf put it
                   this way:

                      We say that if that claim covers water soluble spheronising
                      agents, it must also disclose the possibility of using them or
                      it does not actually read on to them at all; because otherwise
                      the teaching of the document is to use water insoluble ones.
                      We say if in fact the claim is wide enough to cover water
                      soluble spheronising agents, there must be added matter.

                   99. The trouble with that submission is that claim 6 does not
                   mention – so cannot possibly teach – water soluble
                   spheronising agents. It just specifies "a spheronising agent."
                   The fallacy in the argument is to equate disclosure of subject
                   matter with scope of claim, a fallacy struck down as long ago
                   as 1991 in AC Edwards v Acme Signs & Displays [1992] RPC
                   131 (see e.g. per Fox LJ at p.143).”

51.      These principles are enough to deal with the issues arising in most cases. However,
         this appeal focuses on two particular points: first, the approach to be adopted to claim
         broadening; second, the objection of intermediate generalisation.

52.      As for claim broadening, in decision T 0260/85 Coaxial connector/AMP, OJ EPO
         1989, 105 the Technical Board of Appeal (TBA) explained (at [7]) that the deletion of
         a feature would constitute added matter if the application as originally filed contained
         no disclosure, express or implied, that the feature could be omitted.

53.      Then, in decision T 0331/87 Houdaille, the TBA laid down a three part test at [3]-[6]:

                   “3. For the determination whether an amendment of a claim
                   does or does not extend beyond the subject-matter of the
                   application as filed, it is necessary to examine if the overall
                   change in the content of the application originating from this
                   amendment (whether by way of addition, alteration or excision)
                   results in the skilled person being presented with information
                   which is not directly and unambiguously derivable from that
                   previously presented by the application, even when account is
                   taken of matter which is implicit to a person skilled in the art in
                   what has been expressly mentioned (Guidelines, Part C,
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                   Chapter VI, No. 5.4). In other words, it is to examine whether
                   the claim as amended is supported by the description as filed.

                   4. In the decision T 260/85 ("Coaxial connector/AMP, OJ EPO,
                   1989, 105) the Board of Appeal 3.5.1 came to the conclusion
                   that "it is not permissible to delete from a claim a feature which
                   the application as originally filed consistently presents as being
                   an essential feature of the invention, since this would constitute
                   a violation of Article 123(2) EPC" (cf. Point 12 and Headnote).
                   In that case the application as originally filed contained no
                   express or implied disclosure that a certain feature ("air space")
                   could be omitted. On the contrary, the reasons for its presence
                   were repeatedly emphasised in the specification. It would not
                   have been possible to recognise the possibility of omitting the
                   feature in question from the application (Point 8). It could be
                   recognised from the facts that the necessity for the feature was
                   associated with a web of statements and explanations in the
                   specification, and that its removal would have required
                   amendments to adjust the disclosure and some of the other
                   features in the case.

                   5. Nevertheless it is also apparent that in other, perhaps less
                   complicated technical situations, the omission of a feature and
                   thereby the broadening of the scope of the claim may be
                   permissible provided the skilled person could recognise that the
                   problem solving effect could still be obtained without it (e.g. T
                   151/84 - 3.4.1 of 28 August 1987, unreported). As to the
                   critical question of essentiality in this respect, this is a matter of
                   given feasibility of removal or replacement, as well as the
                   manner of disclosure by the applicant.

                   6. It is the view of the Board that the replacement or removal of
                   a feature from a claim may not violate Article 123(2) EPC
                   provided the skilled person would directly and unambiguously
                   recognise that (1) the feature was not explained as essential in
                   the disclosure, (2) it is not, as such, indispensable for the
                   function of the invention in the light of the technical problem it
                   serves to solve, and (3) the replacement or removal requires no
                   real modification of other features to compensate for the
                   change (following the decision in Case T 260/85, OJ EPO
                   1989, 105). The feature in question may be inessential even if it
                   was incidentally but consistently presented in combination with
                   other features of the invention. Any replacement by another
                   feature must, of course, be examined for support in the usual
                   manner (cf. Guidelines, Part C, Chapter VI, No. 5.4) with
                   regard to added matter.”

54.      Thus the skilled person must be able to recognise directly and unambiguously that (1)
         the feature is not explained as essential in the original disclosure, (2) it is not, as such,
         indispensable for the function of the invention in the light of the technical problem it
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         serves to solve, and (3) the replacement or removal requires no real modification of
         other features to compensate for the change.

55.      This test provides a convenient structured approach to the fundamental question
         whether, following amendment, the skilled person is presented with information about
         the invention which is not derivable directly and unambiguously from the original
         disclosure.

56.      Turning to intermediate generalisation, this occurs when a feature is taken from a
         specific embodiment, stripped of its context and then introduced into the claim in
         circumstances where it would not be apparent to the skilled person that it has any
         general applicability to the invention.

57.      Particular care must be taken when a claim is restricted to some but not all of the
         features of a preferred embodiment, as the TBA explained in decision T 0025/03 at
         point 3.3:

                   “According to the established case law of the boards of appeal,
                   if a claim is restricted to a preferred embodiment, it is normally
                   not admissible under Article 123(2) EPC to extract isolated
                   features from a set of features which have originally been
                   disclosed in combination for that embodiment. Such kind of
                   amendment would only be justified in the absence of any
                   clearly recognisable functional or structural relationship among
                   said features (see e.g. T 1067/97, point 2.1.3).”

58.      So also, in decision T 0284/94 the TBA explained at points 2.1.3-2.1.5 that a careful
         examination is necessary to establish whether the incorporation into a claim of
         isolated technical features, having a literal basis of disclosure but in a specific
         technical context, results in a combination of technical features which is clearly
         derivable from the application as filed, and the technical function of which contributes
         to the solution of a recognisable problem. Moreover, it must be clear beyond doubt
         that the subject matter of the amended claim provides a complete solution to a
         technical problem unambiguously recognisable from the application.

59.      It follows that it is not permissible to introduce into a claim a feature taken from a
         specific embodiment unless the skilled person would understand that the other
         features of the embodiment are not necessary to carry out the claimed invention. Put
         another way, it must be apparent to the skilled person that the selected feature is
         generally applicable to the claimed invention absent the other features of that
         embodiment.

60.      Ultimately the key question is once again whether the amendment presents the skilled
         person with new information about the invention which is not directly and
         unambiguously apparent from the original disclosure. If it does then the amendment is
         not permissible.

Added matter – the attacks

61.      Nokia’s case on added matter developed at the trial and, as the judge explained at
         [141], departed from the pleaded case. In the end it seems both sides were content to
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         deal with the allegations as formulated in Nokia’s closing written submissions. Six
         allegations are pursued on this appeal. I will address them in turn.

Is the 13 bit pattern processing disclosed distinctly?

62.      Nokia contends that a plausible way of reading the application is that what is
         disclosed is a “first exemplary embodiment” using only the 10 bit pattern, and a
         “second exemplary embodiment” in which the network may send any one of the bit
         patterns in figure 3. In other words, there is no embodiment in which the network is
         constrained to send only the 13 bit pattern.

63.      This was a matter which the judge addressed in his 189 judgment. In referring to the
         disclosure of the 189 patent corresponding to [0036] of the application, the judge said
         this at [216]:

                   “Herein lies the major source of contention between the parties.
                   Does the second embodiment, as Nokia contend, involve the
                   base station sending all three bit patterns? Or does the second
                   embodiment, as IPCom contends, simply involve the
                   transmission of the 13 bit pattern? The dispute is about
                   whether there is a freestanding embodiment which does not
                   involve the sending of the S4 bit …”

64.      The judge preferred IPCom’s contention, holding at [217] – [218]:

                   “217. I think both sides were trying to extract too much from
                   the question of precisely what overall system the second
                   embodiment was intended to describe. The real purpose of the
                   second exemplary embodiment is to introduce the 13 bit
                   pattern. In my judgement the skilled reader of the specification
                   would appreciate that access to the random access channel
                   could be controlled by the base station by sending the 13 bit
                   pattern alone. All the information necessary to do an access
                   threshold test and an access class test are present in the 13 bit
                   pattern. The skilled person would also appreciate that access to
                   the network could be controlled in a system in which the base
                   station was capable of sending all three bit patterns. The skilled
                   person would expect that the patentee was seeking to protect a
                   method which involved 10 bit alone, 13 bit alone, or
                   combinations.

                   218.      Nokia make a number of highly semantic points on
                   this passage. For example they lay stress on the fact that the 13
                   bit pattern is called a "third" bit pattern: but that does not mean
                   that it is a third pattern which always has to be present in the
                   second embodiment. Rather, I think it means that it is the third
                   bit pattern to be mentioned, which it is. They also draw
                   attention to the words "in addition" in the third sentence: but in
                   context these words are simply referring to the additional
                   inclusion of the D and P bits, additional information which it is
                   not necessary to explain here. The patentee is not saying that
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                   the third bit pattern is necessarily present in addition to the first
                   and the second. Likewise, Nokia referred to the words "and
                   also" in the third sentence, but this is a flimsy foundation
                   indeed for saying that the first and second bit patterns are
                   required to be present. As IPCom pointed out, the
                   corresponding German text uses the words "wie auch" which
                   do not convey the meaning for which Nokia contend in any
                   event.”

65.      Similarly, he concluded at [223] in the passage to which I have referred at [41] above:

                   “… I do not think that alters the fact that the skilled person
                   would appreciate that the 13 bit embodiment could be used on
                   its own in a simpler evaluation unit, just as he would appreciate
                   that the 10 bit embodiment could be so used on its own.”

66.      In addressing the added matter allegation in this case, the judge referred to his earlier
         conclusion and continued at [143] – [144]:

                   “143. Mr Meade did not seek to challenge that finding head-
                   on. Rather he submitted that that finding did not go far enough
                   to decide the added matter point against him. For that purpose
                   it was necessary to find clear and unambiguous disclosure of
                   using the 13 bit pattern alone.

                   144.     I do not think there is anything in this point. To the
                   extent that there is any doubt at all that the skilled person would
                   understand that the 13 bit embodiment could be used alone, that
                   position is unaltered by the disclosure of the granted patent.
                   That document cannot be read as adding to the disclosure of the
                   application about whether the 13 bit embodiment can be used
                   alone.”

67.      On this appeal, Mr Meade submitted that the judge’s finding at [223] of his 189
         judgment was only a finding that it would be obvious to the skilled person that the 13
         bit embodiment could be used on its own in a simpler evaluation unit. This, he
         continued, is not enough for IPCom to succeed on added matter.

68.      I do not accept this submission. In these paragraphs of his 189 judgment, the judge
         was considering the disclosure of the patent, not what was obvious. Moreover, the
         judge confirmed this was so at paragraph [144] of his judgment in this case.

69.      Mr Meade also submitted there is no clear and unambiguous disclosure in the
         application that the 13 bit pattern may be used on its own and, in so far as the judge
         decided to the contrary, he fell into error. In support of this argument he deployed
         what he described as a number of “strong pointers” towards the conclusion that there
         is no embodiment in which the network is constrained to send only the 13 bit pattern:

         i)       The description of the second exemplary embodiment in paragraph [0036]
                  includes a reference to all three bit patterns. In that context, the 13 bit pattern
                  is described as the “third” bit pattern.
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         ii)      Figure 4 shows a flow chart which clearly describes an embodiment using all
                  three bit patterns. At point 200 (in figure 4a) the mobile checks whether it has
                  received a 10 bit or a 13 bit pattern. Further, figure 4 is not described as a
                  third embodiment, nor is there any suggestion given that it is a hybrid or
                  compilation of the first two embodiments. On the contrary, the description of
                  figure 4 flows on from and is a continuation of the description of the second
                  exemplary embodiment. In other words, figure 4 is part of the description of
                  the second embodiment, which involves both 10 bit and 13 bit processing.

         iii)     The invention of claim 1 of the application revolves around a “check” whether
                  the access authorisation data comprised an access threshold value, or access
                  class information. It is not immediately apparent that an embodiment
                  comprising the 13 bit pattern alone would involve any such check, since in a
                  system where only the 13 bit pattern can be sent the mobile would know which
                  it was receiving.

         iv)      On no view is there a claim of the application which is limited to a system in
                  which the 13 bit pattern alone is sent.

         v)       Finally, an embodiment comprising the 13 bit pattern only would not have any
                  way of saving transmission capacity, which is a major object of the invention
                  of the application.

70.      The first of these points is addressed by the judge at [218] of the 189 judgment. He
         said, and I agree, that the 13 bit pattern is described as the “third” bit pattern because
         it is the third bit pattern to be mentioned.

71.      As for figure 4, I accept this depicts, and the supporting text describes, an evaluation
         unit and subscriber station using all three bit patterns. But I do not believe that the
         skilled person would understand from this that the 13 bit pattern must always be used
         with the 10 bit pattern. To the contrary, it would be clear to the skilled person from
         paragraphs [0036] and [0037] of the application that the third bit pattern may be used
         as an alternative to the first and second bit patterns. The judge was right to say, as he
         did at [223] of the 189 judgment, that figure 4 and its associated description do not
         alter the fact that the skilled person would appreciate that the 13 bit embodiment
         could be used on its own.

72.      Turning to the “check” point, the judge addressed this at [233] of the 189 judgment:

                   “233. In my judgment the check which is required by claim 1
                   is a check as to whether the mobile station is to use part of the
                   access information to perform the access threshold evaluation.
                   This occurs in the first embodiment when the mobile checks the
                   S4 bit, telling the mobile that the answer to the question is
                   "yes" if the S4 bit is set to 0 and "no" if it is set to 1. It also
                   occurs in the second embodiment when the mobile looks at the
                   Z bits in box 285. If a Z bit for the user class in which that
                   mobile is included is set to 1, then the answer to the question is
                   "yes" and it will use the access threshold information to do the
                   lottery. If the same Z bit is set to 0, then it will not (in fact it
                   will obtain access based on its class).”
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73.      I believe the judge was right to reach this conclusion and that it is supported by
         paragraph [0036] of the application. As I have said, this explains that mobile stations
         belonging to a user class for which the associated access class bit is set to 0 are able to
         access the RACH irrespective of the access threshold value S and the priority
         threshold value P.

74.      Mr Meade’s fourth point seems to me to take the matter no further. The fact that the
         application does not contain a claim which is limited to a system in which the 13 bit
         pattern alone is sent does not determine the question whether or not the application
         discloses the 13 bit embodiment independently of the 10 bit embodiment.

75.      Finally, I do not accept Mr Meade’s submission that an embodiment comprising the
         13 bit pattern only would not have any way of saving transmission capacity. I say this
         for two reasons. First, Mr Purvis submitted, and I agree, that the claims are truly to a
         method of allocating access rights. Second, the 13 bit embodiment does save
         transmission capacity on the BCCH channel compared to the IS-95 system, the only
         prior art system which offered the same sort of flexibility. The difference between the
         systems was described by the judge at [85] in these terms:

                   “The difference between this functionality of IS-95 and the
                   inventive concept is that the inventive concept has access class
                   information which tells the mobile whether to do the lottery
                   which is distinct from the access threshold value itself. In IS-
                   95 there is always a lottery based on received access threshold
                   value bits, (although the network can rig the lottery in the
                   mobile’s favour and guarantee access). To put it another way,
                   in IS-95 there is no route to access which is independent of the
                   received access threshold value bits. ….”

76.      Moreover, the judge rejected Nokia’s submission that it was obvious to take the step
         from IS-95 to the invention of claim 1, concluding at [99] – [100] that it was not self-
         evident that one could retain the functionality provided by IS-95 if one made the
         necessary modifications proposed by Nokia.

77.      Mr Purvis also argued that Nokia’s allegation must fail for the further reason given by
         the judge at [144], namely that the description is, so far as relevant, exactly the same
         in the application and the patent and all the patent does is to frame a monopoly by
         reference to the 13 bit embodiment. This may be so but, since I am entirely satisfied
         that the application does directly and unambiguously disclose the 13 bit embodiment
         independently of the 10 bit embodiment, I prefer to express no final conclusion upon
         the point.

Relationship between figures 3c & 4, paragraphs [0036] & [0039]

78.      Nokia contends that claim 1 of the patent involves the addition of matter because it
         discloses a selection of some of the features of the second embodiment (taken mainly
         from paragraph [0036] of the application) but omits many others (virtually all of
         paragraph [0039]).

79.      Mr Meade developed this point as follows. First, he argued that paragraph [0036] of
         the application explains the 13 bit pattern, and gives some explanation of what can be
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         achieved with it. This is directed to the capability of the 13 bit pattern but does not
         attempt to describe the processing that lies behind it. That is only to be found in the
         flow chart of figure 4, and in paragraph [0039] of the application. He submitted that it
         may be possible to infer processing from paragraph [0036], but argued that is not the
         same as a clear and unambiguous disclosure of it.

80.      Moreover, Mr Meade continued, in so far as it is possible to tell anything about the
         processing of the 13 bit pattern as described in paragraph [0036]:

         i)       It is in one sense more specific than features [F] to [H] of claim 1 of the patent
                  because it requires the mobile to deal with the situation where mobiles do not
                  belong to a user class at all.

         ii)      It is in another sense less specific than features [F] to [H] of claim 1 of the
                  patent because it does not describe the order in which the bits are processed.

81.      For processing, Mr Meade’s argument continued, the reader has to look to paragraph
         [0039] and figure 4. It follows that figure 4 and paragraph [0039] are an integral part
         of the description of the second embodiment on any view.

82.      The judge addressed these submissions at [146] – [148]:

                   “146. I think that the skilled person would recognise that
                   [0036] is propounding as inventive, and at a higher level than
                   [0039], some particular features of the second embodiment.
                   Although [0036] mentions the presence of the
                   telecommunications service bits and priority threshold bits, I
                   think the skilled person would recognise from this paragraph
                   that what is being proposed is a system in which (a) both access
                   threshold value bits and access class bits are sent; (b)
                   depending on the setting of the access class bit, the mobile will
                   determine whether access is to be allowed without
                   consideration of the access threshold value, or whether it has
                   instead to use that value and perform the lottery.

                   147.      Both sides emphasised the need to read the application
                   as a whole, and without hindsight. In broad, perhaps even
                   crude, terms, both the introduction and the claims of the
                   application follow the structure: lottery/class/priority/service.
                   With that in mind, the skilled person would see very clearly in
                   [0036] one way in which the first two – lottery and class – can
                   be combined. The interaction of lottery and class is repeatedly
                   emphasised. He would not, in my judgment think that the fact
                   that this concept was being presented alongside the priority and
                   service information, or prior to a more detailed explanation of
                   the processing which involved that information, meant that the
                   other features were essential to his concept.

                   148.     Given that conclusion in relation to the disclosure of
                   the application, I do not think there is any added disclosure in
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                   the patent, in the claims or elsewhere. I therefore reject this
                   ground of added matter.”

83.      I believe the judge was right for the reasons that he gave. Paragraph [0036] of the
         application discloses a system for allocating access to the RACH not only by user
         class but also by the lottery. It teaches clearly and unambiguously that mobile
         stations may access the RACH on account of their association with a user class, in
         which case they may do so independently of the received access threshold value bits;
         or they may access the RACH on the basis of an evaluation of the access threshold
         value by comparing that value with a random or pseudo-random number drawn by the
         mobile, and determining whether it is greater than or equal to the access threshold
         value. There is, therefore, no need for the skilled person to look to paragraph [0039]
         and figure 4 at all. But if he were to choose to do so, he would find a description of
         the flow chart of figure 4 and a processing system for the 10 and 13 bit patterns. That
         does not, however, mean to say the skilled person would believe that the 10 and 13 bit
         patterns must necessarily be used together. To the contrary, he would appreciate that
         this is not inevitably the case and that an adapted evaluation unit for just 10 or 13 bit
         patterns is also contemplated.

84.      The other two points, namely user class and the order in which the bits are processed,
         are the subject of the next added matter allegation and I address them in that context.

Features [F], [G] & [H] are not disclosed in paragraph [0036]

85.      Nokia contends that paragraph [0036] of the application does not support integers [F],
         [G] and [H] for four reasons.

86.      First, paragraph [0036] is more specific because the processing related to access class
         also requires (a) checking whether the mobile has an access class at all and (b) dealing
         with the case where it does not. To that extent, therefore, features [F], [G] and [H] are
         an intermediate generalisation.

87.      Second, claim 1 of the patent is specific about the order of the processing: first the
         mobile evaluates the access class information and permits access to the RACH if the
         mobile is in a permitted class. If and only if the mobile fails this evaluation, it
         subsequently carries out the lottery. By contrast, paragraph [0036] of the application
         says nothing about the order of the steps and the teaching could just as well be
         implemented by having the mobile first do the lottery and only go on to evaluate the
         access class information if it fails the lottery. Claim 1 therefore adds matter by
         disclosing a specific order of steps, and that they are essential to the invention, for the
         first time.

88.      Third, paragraph [0036] does not teach that the mobile uses the access class
         information to determine whether it is permitted to access the RACH “independent of
         the received access threshold value bits” as required by features [F], [G] and [H].

89.      Finally, paragraph [0036] does not disclose that any of these features have any
         inventive significance.

90.      It is convenient to take these points in the order in which they were made. As for the
         possibility of the mobile not having an access class at all, I accept that paragraph
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         [0036] of the application says that mobile stations belonging to a user class whose
         associated access class bit has been set to 1 and mobile stations which do not belong
         to a user class, need to perform the access threshold value evaluation. However, I
         have no doubt that the skilled person would understand from the teaching of this
         paragraph that this feature is only necessary in a system in which some mobiles do not
         belong to a user class. If, as in UMTS, all the mobiles fall into one class or another,
         then there is absolutely no point in the mobile interrogating itself as to whether it is in
         a class at all. This element of the description is plainly not essential; nor is it
         indispensable for the function of the claimed invention. Moreover, its removal
         requires no modification of the other features to compensate for the change. All of
         these matters would be recognised by the skilled person directly and unambiguously
         from the application in the light of the common general knowledge.

91.      Turning to the order of the processing, I believe Nokia’s contention is based upon a
         misapprehension of the proper interpretation of claim 1 of the patent. Read in the
         context of the specification as a whole, I do not accept that the claim is specific about
         the order of the processing. It requires the mobile to be so arranged that it uses the
         access class information to determine whether it is permitted to access the RACH
         independent of the received access threshold value bits or whether it must carry out
         the lottery. But there is nothing to say that the mobile may not carry out the lottery in
         any event and, indeed, have done so first. That is simply a question of how it is
         implemented.

92.      The third point can be dealt with very shortly. Paragraph [0036] of the application
         uses the word “irrespective” rather than “independent”. But this difference in
         wording has no significance in the context of the claim and adds nothing to the
         disclosure.

93.      Finally, I must deal with the contention that paragraph [0036] of the application does
         not disclose that features [F], [G] and [H] have any inventive significance. The
         answer to this point is that it would be clear to the skilled person from paragraph
         [0036] that these three features, as a unit, form the heart of the second exemplary
         embodiment and together allow access to the RACH not only on the basis of class but
         also on the basis of the lottery. This provides greater flexibility in terms of the
         horizontal and vertical control to which I have referred. The judge summarised the
         position in terms with which I entirely agree at [40] and [55], which I have set out at
         [36] and [37] above.

The description of the flow chart is incomprehensible

94.      Nokia contends that the relevant parts of paragraph [0039] and figure 4 of the
         application are incomprehensible. They appear to contemplate one input being the
         user class of the mobile and another whether such class is “privileged” or “normally
         privileged”. But this latter parameter is not explained in any coherent way; it is not
         even clear if it is broadcast, or stored on the mobile, or something else altogether. Mr
         Meade submitted that IPCom’s expert, Mr Gould, was cross examined about it and
         that it emerged that he just did not understand the processing and, perhaps more
         importantly, the ordinary reader would not have been able to understand it either.

95.      I think that Nokia has fairly characterised Mr Gould’s evidence. It is summed up in
         his answer “I do not know what is going on in there”. But this does not, in itself, give
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         rise to an added matter objection. Perhaps recognising this to be the case, Mr Meade
         continued that there is no basis for the generalised feature [F] of claim 1.
         Specifically, he argued, this feature is an intermediate generalisation from the specific
         processing described in paragraph [0039] which involves access class and the
         privileged/normally privileged test.

96.      The answer to this allegation is that features [F], [G] and [H] are described in
         paragraphs [0036], [0037] and [0038] in the passages to which I have referred. The
         fact that additional complexity is introduced into the processing description in
         paragraph [0039] does not detract from that earlier teaching which directly and
         unambiguously discloses these features of the claim. I believe the judge was therefore
         right to reject this allegation.

The “D” telecommunication service bits

97.      Nokia contends that the D service bits have been omitted from claim 1 of the patent
         and that this is an exceptionally clear instance and symptom of added matter.

98.      Mr Meade developed Nokia’s case as follows:

         i)       The D bits are sent by the base station to tell mobiles which services are
                  available.

         ii)      They are utilised throughout the preferred embodiments.

         iii)     They have a specifically taught purpose: to save transmission capacity, which
                  is the overall objective of the application. They are taught as being necessary
                  to tell the mobile whether access to a particular kind of service is permitted at
                  the time RACH access is desired. In their absence, the mobile would just not
                  know if it could attempt RACH access or not for such a service.

         iv)      In the processing of figure 4, the D bits always have to be checked prior to
                  RACH access being attempted.

         v)       The D bits would be considered particularly important in a UMTS system
                  because such a system has multiple services. If the D bits were deleted, a
                  system with multiple services therefore just could not work unless some other
                  fairly complex rearrangement of the whole system were made – which is not
                  taught in the application and would be less efficient in terms of transmission
                  capacity.

99.      The judge dealt with this allegation at [155]-[162]. He began by referring to the
         general disclosure of the application at [156]-[157]:

                   156.     In the general part of the specification, there is mention
                   of these bits at [0009] in the passage relating to claim 4. This
                   explains that for each of the user classes authorised for access,
                   an additional stipulation is which telecommunications services
                   can be requested via the telecommunications channel. This is
                   said to save transmission capacity, because these classes are
                   prevented from even requesting those services.
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                   157.     At [0014], in the general introduction to the
                   embodiments, it is explained that the network provides a
                   number of services, specifically small data packets, large data
                   packets and voice. This would have been expected of any
                   network in 1999. [0015] explains that the various services “can
                   be made available to the mobile stations either individually or
                   in any combination”. In the same section, at [0020], the
                   application explains that, in a first embodiment, information
                   sent on the broadcast channel “can contain information
                   regarding for which purpose and for which mobile stations
                   access to the RACH is to be permitted”. No distinction is being
                   drawn with information about classes of mobile stations and the
                   purpose of permitted access (i.e. the D bits). The three
                   different types of subscriber services are mentioned again at
                   [0021].”

100.     Within this general description I would draw particular attention to the teaching in
         paragraph [0020] that the bit pattern can, but so also need not necessarily, contain
         information regarding the purpose for which access to the RACH is permitted.

101.     The judge then continued at [158] with his summary of the disclosure in relation to
         the first exemplary embodiment:

                   “158. In [0025] to [0035], which contain the detailed
                   description of the 10 bit embodiment, the three
                   telecommunications bits are part of the 10 bits described in
                   both Figures 3(a) and (b). In the example in [0035] it is shown
                   how a mobile station can have access authorisation for
                   requesting some services but not for others.”

102.     Importantly, the last sentence of [0025] says that it is possible to arrange for a
         telecommunications service to be able to be used when the associated
         telecommunications service bit has been set. As I have said, I believe this indicates
         that this feature is optional.

103.     Turning to the 13 bit embodiment, the judge summarised the disclosure at [159] –
         [160] in this way:

                   159.     In [0036] to [0038], which deal with the 13 bit
                   embodiment, the telecommunications service bits are also
                   included in the bit pattern. [0036] makes it clear, by the
                   repeated use of the word “possibly” that the priority bit
                   evaluation is not regarded as essential for those mobiles which
                   are not given access on the basis of class. There is, however,
                   no corresponding express suggestion that the service bits can be
                   omitted. In the example the D bits are set as 011, and the
                   specification explains that this means that mobiles cannot send
                   small data packets on the RACH, but they can request
                   authorisation for larger packets and for voice.
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                   160.     There then follows [0038] which is in the same terms
                   as [0036] in the granted patent and which I have set out above.
                   These first two sentences clearly apply to all three bit patterns
                   and suggest that it is not essential to have the exact number of
                   bits of each type (e.g. one can have more or less Z bits than the
                   four illustrated). It also explains that individual information
                   components can be omitted entirely. This too applies to both
                   the 10 bit and the 13 bit embodiment. In my judgment the
                   skilled person would understand that, depending on the
                   sophistication of the system, one could do without some of the
                   types of information. Priority information is one example.
                   Read in combination with the general part of the specification
                   and the claims (the lottery/class/priority/service structure) it
                   would be clear that class and service information could be
                   omitted as well.”

104.     Here the judge has rightly focused on paragraph [0038] which teaches that for the
         first, second and third bit patterns the subscriber service information can be reduced
         for bandwidth reduction or, if appropriate, omitted entirely.

105.     The judge then turned to paragraph [0039] and dealt with it in these terms at [161]:

                   “161. It is true that in [0039], in the description of the flow
                   chart, the evaluation of the service bits takes place before
                   access to the RACH is allowed. But one would expect this
                   description to include the features of the sub-claims. The
                   skilled person would clearly understand that if service
                   information were to be omitted, then it would not have to be
                   processed.”

106.     I agree with this summary of the description of the flow chart depicted in figure 4 and
         how the skilled person would understand it. In addition to all of this teaching, the
         skilled person would also have regard to the claims of the application. These form
         part of the disclosure and reveal that the D bits did not feature in the principal claims,
         emphasising to the skilled person that they were not an essential part of the invention.

107.     Finally, the judge referred to the evidence given by Mr Gould that he could not think
         of anything specific that pointed to the subscriber service bits as not essential. The
         judge did not consider this to be decisive and in my judgment he was right to take that
         approach. It is not clear to me quite what Mr Gould had in mind in giving that
         evidence but, more importantly, I think the teaching of the application is clear and
         unambiguous that the D bits are not essential.

108.     Mr Meade criticised the judge for failing to deal with any of the points set out at [98]
         above adequately, and in particular for failing to address the point that the D bits have
         the specific purpose of saving transmission capacity, and the interplay between them
         and UMTS.

109.     I have dealt with the general disclosure of the application. As for the D bits having
         the specific purpose of saving transmission capacity, the application teaches that
         omitting the D bits does save transmission capacity on the BCCH. Using the D bits as
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         described would take three extra bits on the BCCH but might generate an advantage
         in terms of RACH usage. It is therefore, as Mr Purvis submitted, a trade off which I
         have no doubt would be clear to the skilled person. This is entirely consistent with
         the teaching in, for example, paragraph [0005] of the application that the access
         control inherent in the lottery uses a minimum of transmission capacity since it is
         effected merely by transmission of the access threshold value.

110.     Turning to the processing of figure 4, I accept that the D bits always have to be
         checked prior to RACH access being attempted, but this is a description of the flow
         chart of figure 4 and the way in which the evaluation unit works for a system using all
         of the features which are specifically described. But this does not mean to say the D
         bits must necessarily be used and, for the reasons I have given, the skilled person
         would appreciate they do not, and that their functionality is quite distinct from that of
         the claimed invention.

111.     As for UMTS, this is not a point which was taken on the pleadings but was raised in
         argument after the evidence. It is therefore no surprise that the judge did not deal
         with it expressly in his judgment. Nevertheless, I am satisfied that there is nothing in
         the point for the following reasons. First, there was no clear evidence before the court
         that UMTS could not work without discrimination by means of the D bits. Second,
         there is no teaching in the application that the D bits are essential for the operation of
         UMTS. Third, existing systems with multiple services did not require discrimination
         by means of the D bits.

112.     Mr Meade submitted that claim 1 of the patent is effectively a new claim based upon a
         specific embodiment but with the deletion of the D bit feature. In these circumstances
         he argued that the principles explained by the TBA in Houdaille apply. I am prepared
         to accept that that is so but would answer the Houdaille questions as follows. First,
         there is no teaching in the application that the D bits are required or essential.
         Second, the D bits are not indispensable for the function of the claimed invention
         which has, at its heart, the two routes of access feature. Third, removal of the D bits
         does not require any modification or rearrangement of the other features of the
         invention. All of these matters would be recognised by the skilled person directly and
         unambiguously from the application in the light of the common general knowledge. I
         therefore believe the judge arrived at the correct conclusion.

User class read from a SIM card

113.     Nokia contends that feature [C] of claim 1, part of the characterising portion of the
         claim, requires that the mobile station reads a user class from a SIM card. This
         feature, Nokia emphasises, not only requires a SIM card, but also that the user class
         be on it, and read from it. Nokia continues that there is no disclosure of such a feature
         in the application, let alone a disclosure in combination with the other features of
         claim 1 of the patent.

114.     The judge rejected this allegation at [165]:

                   “This is feature [C] of the claim of the granted patent. Nokia
                   submit that IPCom need to go to the detailed description in
                   [0039] to find this feature. But that is not correct. Paragraph
                   [0024] explains, in the general introduction to the
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                   embodiments, that the mobile has “an access authorization
                   card, for example a SIM card”. [0033] explains that the mobile
                   “takes the association with a user class from the access
                   authorization card”. The skilled person would understand that
                   description to carry through to the second embodiment: it is a
                   feature of general application whenever user class is to be used.
                   There is no added matter here.”

115.     Mr Meade submitted that the judge fell into error here because his reasoning does not
         justify a finding that there was clear and unambiguous teaching to use the SIM card
         feature in connection with the second embodiment. I am unable to accept this
         submission. The judge had the relevant legal tests well in mind, having recited them
         at [126] – [136] of his judgment. He considered, and I agree, that the teaching in
         paragraph [0024] as to the presence of a SIM card and the explanation in paragraph
         [0033] that the mobile takes the association with a user class from the SIM card
         carries through to the second embodiment. It is, as he said, a feature of general
         application whenever user class is to be used. The disclosure is clear and
         unambiguous.

Added matter – general

116.     Nokia contends that, in addition to the specific points to which I have referred, the
         judge fell into error in failing properly to identify and apply the Houdaille test and
         overlooked the requirement in law that to support an intermediate generalisation, an
         application must clearly and unambiguously disclose the inventive significance and
         purpose of the feature in question.

117.     I am unable to accept either of these arguments. So far as the first is concerned, Mr
         Meade focused upon [130] of the judgment and the consideration given there by the
         judge to the requirement that the skilled person would directly and unambiguously
         recognise that the feature was not explained as essential. I do not think that the judge
         was here purporting to set out the whole of the three stage test. That he had done at
         [129]. But in any event, for the reasons I have given, I am entirely satisfied that the
         Houdaille test, including each of its three elements, is satisfied.

118.     As for the second argument, the problem which the application addresses is, in its
         broadest terms, the provision of a system for controlling access by mobile phones to
         the RACH. In the second embodiment this is achieved by means of the two routes of
         access feature. This provides horizontal and vertical control in the manner I have
         described. Moreover, the judge held at [168] that it was implicit that the two routes
         of access concept was advantageous:

                   “I consider that the concept embodied by these features,
                   however one describes it, is clearly disclosed. I do not think
                   that it is fatal to the patent that the concept is not expressly
                   described as advantageous. Given that access class and lottery
                   based permission are both described as advantageous, it is
                   implicit that a combination of them will be as well. So this way
                   of putting the added matter objection is unpersuasive as well.”
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119.     I agree with the judge and with his further conclusions at [40] and [55] which I have
         set out at [36] and [37] above.

Added matter – conclusion

120.     For all these reasons I agree with the judge that the patent is not invalid for added
         matter.

Obviousness

121.     Nokia contends that the judge fell into error in failing to find the patent is invalid
         because:

         i)       It achieves nothing by way of a technical advance.

         ii)      It is obvious over the common general knowledge.

         iii)     It is obvious over GSM/GPRS.

         iv)      It is obvious over Farsta.

122.     I will deal with each of these in turn but first must set out some general principles.

Obviousness – the law

123.     It is now conventional to address the question of obviousness using the structured
         approach explained by this court in Pozzoli v BDMO [2007] EWCA Civ 588; [2007]
         FSR 37. This involves the following steps:

                   (1)        (a)    Identify the notional ‘person skilled in the art’.

                              (b) Identify the relevant common general knowledge
                              of that person.

                   (2)       Identify the inventive concept of the claim in question
                   or, if that cannot readily be done, construe it.

                   (3)     Identify what, if any, differences exist between the
                   matter cited as forming part of the “state of the art” and the
                   inventive concept of the claim or the claim as construed.

                   (4)       Ask whether, when viewed without any knowledge of
                   the alleged invention as claimed: do those differences constitute
                   steps which would have been obvious to the person skilled in
                   the art or do they require any degree of invention?

124.     It has been said many times that obviousness is, at the end, a kind of jury question. In
         Conor v Angiotech [2008] UKHL 49; [2008] RPC 28 at [42], Lord Hoffmann
         approved the following statement which I made in Generics (UK) Ltd v H Lundbeck
         [2007] RPC 32 at [72]:
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                   “The question of obviousness must be considered on the facts
                   of each case. The court must consider the weight to be attached
                   to any particular factor in the light of all the relevant
                   circumstances. These may include such matters as the motive
                   to find a solution to the problem the patent addresses, the
                   number and extent of the possible avenues of research, the
                   effort involved in pursuing them and the expectation of
                   success.”

125.     There are two other aspects of the law which have a particular bearing on the present
         case.

126.     The first is that there is no invention in simply combining together a number of
         arbitrary features which achieve no technical purpose. I put it this way in Abbott
         Laboratories v Evysio [2008] RPC 23 at [181]:

                   “… there is no invention in stipulating a feature which is
                   arbitrary and serves no useful purpose. It has long been
                   established that a patent cannot be used to prevent a person
                   from doing what is merely an obvious extension of what has
                   been done or was known in the art before the priority date […].
                   The selection of a number of these products by reference to an
                   arbitrary parameter which has no technical significance does
                   not involve an inventive step and does not create a patentable
                   invention. It involves no technical ingenuity and solves no
                   technical problem.”

127.     Similarly, in Actavis v Novartis [2010] EWCA Civ 82, [2010] FSR 18, Jacob LJ
         explained:

                       “36. …. Suppose the patent claim is for a plate of diameter
                      five-and-a-quarter inches. And suppose no one can find a
                      plate of that particular diameter in the prior art. Then (a) it is
                      novel and (b) it is non-obvious for there is no particular
                      reason to choose that diameter. The conclusion, that the
                      plate is patentable, is so absurd that it cannot be so.

                      37. What then is the answer to the paradox? It is this: the
                      five-and-a-quarter inch limitation is purely arbitrary and
                      non-technical. It solves no problem and advances the art not
                      at all. It is not inventive. And although “inventive step” is
                      defined as being one which is not obvious, one must always
                      remember the purpose of that definition – to define what is
                      inventive. That which is not inventive by any criteria is not
                      made so by the definition. Trivial limitations, such as
                      specifying the plate diameter, or painting a known machine
                      blue for no technical reason are treated as obvious because
                      they are not inventive.”

128.     The second concerns the care which must be taken in assessing an allegation of
         obviousness based upon the common general knowledge alone. In such a case it is
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         particularly important to avoid hindsight. Again, as I said in Abbott Laboratories v
         Evysio at [180]:

                   “It is also particularly important to be wary of hindsight when
                   considering an obviousness attack based upon the common
                   general knowledge. The reason is straightforward. In attacking
                   a patent, attention is focussed upon the particular development
                   which is said to constitute the inventive step. With this
                   development in mind it may be possible to mount an attack
                   which is unencumbered by any detail which might point to non
                   obviousness: Coflexip v Stolt Connex Seaway (CA) [2000]
                   IP&T 1332 at [45]. It is all too easy after the event to identify
                   aspects of the common general knowledge which can be
                   combined together in such a way as to lead to the claimed
                   invention. But once again this has the potential to lead the court
                   astray. The question is whether it would have been obvious to
                   the skilled but uninventive person to take those features, extract
                   them from the context in which they appear and combine them
                   together to produce the invention.”

129.     Similarly, Floyd J put it this way in Ratiopharm v Napp [2008] EWHC 3070 (Pat) at
         [158]:

                   “Fourthly, allegations of obviousness in the light of common
                   general knowledge alone need to be treated with a certain
                   amount of care. They can be favoured by parties attacking the
                   patent because the starting point is not obviously encumbered
                   with inconvenient details of the kind found in documentary
                   disclosures, such as misleading directions or distracting
                   context. It is vitally important to make sure that the whole
                   picture presented by the common general knowledge is
                   considered, and not a partial one.”

130.     This was a matter which the judge had well in mind, as is clear from [58] of his
         judgment.

Obviousness – what, if anything, does the patent achieve?

131.     There was no dispute that in the GSM/GPRS system, RACH access was controlled
         using class barring followed by the lottery for those classes which were not barred.
         Users in barred classes could not attempt access at all, and had to wait until their class
         became non-barred.

132.     By contrast, in the invention of the patent, mobiles belonging to a permitted class are
         able to attempt to access the RACH irrespective of their performance in the lottery.
         Mobiles which do not belong to a permitted class may nevertheless attempt to access
         the RACH if they are successful in the lottery.

133.     Nokia contends that, assuming this characterisation to be correct, the invention
         provides no benefit whatsoever and is no more than an arbitrarily different (and not a
         better) way of arranging the access class and lottery features together.
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134.     Mr Meade developed Nokia’s submission in this way. He argued that the patent is
         only relevant at all when the RACH is suffering a degree of congestion – because if it
         has plenty of spare capacity there will be no need to limit access attempts either by the
         lottery or by control based on user class. When congestion arises it can be controlled
         by the lottery to some extent. But the lottery can only achieve so much; the RACH
         may still be congested by those succeeding on the lottery. Mr Meade then posed this
         question: what is the point of allowing the emergency services to by-pass the lottery if
         they simply end up among the throng of lottery winners struggling to overcome
         contention on the RACH? A fundamental error on the part of the judge, he submitted,
         was to fail to deal with this issue and, indeed, to deal with obviousness over the
         common general knowledge and Farsta on the basis that the patent does not achieve
         anything useful.

135.     I am unable to accept these submissions. The judge identified the benefits provided
         by the invention at [40] and [55], set out at [36] and [37] above. This horizontal and
         vertical control was again referred to by the judge at [117] in accepting Mr Gould’s
         evidence that the invention provides:

                   “a means for dynamically allocating specific groups of users to
                   obtain priority access to the network while controlling other
                   users on a threshold value.”

136.     This degree of flexibility was not provided by the GSM/GPRS system. It was
         provided by the other common general knowledge system, IS-95, but in a less
         efficient way. The judge summarised the way the IS-95 system worked at [77] - [79]:

                   “77.     IS-95 is based on the CDMA interface developed by
                   Qualcomm. A mobile station in IS-95 transmits messages on a
                   paging channel following a random access procedure until it
                   receives an acknowledgement from the network. Before
                   attempting access to this channel, the mobiles have to carry out
                   a persistence test to determine whether access is possible.

                   78.     Each mobile is a member of an access overload class.
                   These access overload classes correspond to the access classes
                   of the patent. The network broadcasts a persistence value
                   PSIST for each class. The persistence value for class n is
                   called PSIST(n). It is therefore a class specific parameter.

                   79.      The persistence test consists of a comparison between
                   a random number RP with the persistence value P. P depends
                   on the reason for the access attempt, and is calculated from the
                   value PSIST(n) which is transmitted by the network. The
                   standard provides formulae for the calculation of P in three
                   cases: registration of the mobile on the network, message
                   transmission, and all other cases (including voice)……”

137.     After setting out and describing the relevant formulae, the judge continued at [83]:

                   “83.    The result of all this is that, in the case of voice calls,
                   the network can use the value of PSIST(n) to control how or
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                   whether the mobile class concerned accesses the RACH.
                   Dependent on the value of PSIST(n) for the class in question,
                   the class may obtain immediate access to the network, be
                   effectively class-barred, or will be throttled to some
                   intermediate extent. The mobile is only required to decode
                   PSIST(n) and perform the persistence test to know what its
                   rights are in every case.”

138.     The judge then explained the difference in functionality between IS-95 and the patent
         at [85] in the passage I have set out at [75] above.

139.     In summary, therefore, IS-95 provided essentially the same functionality as the
         invention but it did so in a way which required more control information to be sent on
         the BCCH. The judge was therefore entitled to reach the conclusion that he did at
         [123]:

                   “123. It is of course always necessary, at the end, to take a
                   step back and ask whether the claim embodies an inventive
                   step, both in the case of the attacks based on specific
                   publications and in the case of the common general knowledge.
                   Nokia submitted that the invention achieved nothing in terms of
                   functionality as compared with, say, IS-95. That is correct as
                   far as it goes, but it does not follow that IPCom’s approach to
                   achieving that functionality is obvious. It is entirely possible
                   that invention lies in achieving the same functionality in a
                   different way. In the end I was not satisfied that any of Nokia’s
                   four starting points rendered IPCom’s solution obvious.”

140.     The invention therefore has the advantage over IS-95 that it is less complex and uses
         less bandwidth; and has the advantage over GSM/GPRS that it provides the particular
         vertical and horizontal RACH control to which I have referred. Mr Purvis submitted,
         in my judgment entirely fairly, there was more than sufficient evidence before the
         court for the judge to conclude there was something useful about the functionality and
         operation of the invention of the patent which, after it was proposed by Bosch, was
         adopted by the industry in the UMTS standard.

Obviousness in the light of the common general knowledge

141.     Nokia’s case of obviousness over the common general knowledge ran as follows:

         i)       The lottery was common general knowledge.

         ii)      Access class control was common general knowledge.

         iii)     It was common general knowledge to combine them, as in GSM/GPRS and IS-
                  95.

         iv)      It was common general knowledge that appropriate priority for the emergency
                  services had to be accommodated in any system.
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         v)       If it was a problem making, for example, the emergency services do the lottery
                  at times of congestion, then it would be obvious to signal on the BCCH that
                  the lottery was suspended for that class.

142.     Mr Meade, on Nokia’s behalf, emphasised that this was not a five step argument but
         rather an argument which involves five propositions, four of which are simply
         statements of the common general knowledge and are not open to question. The only
         step from the prior art is, he said, the relative arrangement of the lottery and access
         class control, given the undoubted need for priority access for the emergency services.

143.     The judge considered this argument, albeit in summary form, from [116] – [123]. He
         rejected it for four main reasons. First, and most importantly, he considered it was
         untrammelled by any of the details of a practical working system. This, he thought
         unrealistic because the skilled team would be much more likely to start from one of
         the known standard proposals, such as GSM/GPRS or IS-95. Second, he did not think
         that the desire to give the emergency services priority access to the RACH would
         drive the skilled team to the invention of the patent. Third, in a situation in which the
         RACH was very congested, it would not be obvious simply to allow one class to by-
         pass the lottery. Finally, the judge had regard to what those in the art were actually
         doing at the time.

144.     Mr Meade submitted that the judge fell into error at each stage of this reasoning.
         First, he argued that the alleged invention has nothing to do with detail and the
         obviousness attack was pitched at exactly the level of the patent. Mr Gould was
         questioned in a manner entirely consistent with the common general knowledge and
         was asked about that combination of things which were both essential to a working
         system and already combined in the prior art. Moreover, he argued, the law of
         obviousness does not and cannot constrain the skilled person to a particular starting
         point. It is there to allow a skilled person to do anything that is obvious from any
         starting point, whether that be GSM/GPRS, IS-95 or anything else.

145.     The difficulty with this submission is that the judge found as a fact that the skilled
         person would not start to develop a telecommunications system from scratch but
         would start from one of the known standard proposals, such as GSM/GPRS or IS-95.
         The whole approach taken by Nokia was, so the judge found, unrealistic. I have no
         doubt this was a finding he was entitled to make on the evidence, particularly in
         relation to an industry which depends so much upon standardised protocols.

146.     Mr Meade then argued that the judge fell into error in concluding that the need to give
         the emergency services priority would not require the invention of the patent.

147.     As to this, the judge considered that one solution would be to give the emergency
         services permanent priority access, in which case there would be no need to provide
         for the possibility of a lottery. Alternatively, if one wanted to give them priority
         access some of the time, one could bar the other classes when required. In my view
         the judge cannot possibly be faulted for addressing Mr Meade’s argument in this way.
         His reasoning was entirely legitimate in the light of the evidence he had heard and the
         common general knowledge.

148.     The judge was then criticised for what was said to be an error of logic. The argument
         ran as follows. If the RACH is very congested, giving the emergency services a by-
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         pass round the lottery will merely leave them competing with all the other users who
         have won the lottery.

149.     Once again, I find myself unable to accept this argument. As the judge explained, it
         was always possible to bar classes of users when required. The patent, on the other
         hand, provides a different solution which involves the dynamic adjustment of
         privileged groups of users upon whom priority access is conferred while controlling
         other users by adjustment of a threshold value.

150.     Finally, Mr Meade submitted that, so far as the secondary evidence was concerned,
         the judge simply recorded various different ways of saying that the patent was not
         anticipated.

151.     In the section of his reasoning dealing with this argument, the judge attached weight
         to the evidence of Nokia’s expert, Professor Purat, that at the priority date no one
         other than Bosch had thought of any of the following ideas:

         i)       using the distinction between users given by access classes for any purpose
                  other than class barring;

         ii)      providing two routes of access which enable individual groups to access the
                  RACH without doing an evaluation of a persistence level which was required
                  for other groups;

         iii)     broadcasting information over the BCCH to enable dynamic allocation of
                  individual classes into a population of users which did not need to use the
                  lottery.

152.     These were all matters to which the judge was entitled to attach such weight as he
         considered appropriate. He also had regard, entirely properly, to various proposals
         representing the contemporaneous thinking of the major telecommunications
         companies.

153.     In summary, I am satisfied that the judge had ample material before him upon which
         to reach the conclusions that he did. I would therefore reject the submission that the
         judge ought to have found the patent obvious over the common general knowledge.

Obviousness over GSM/GPRS

154.     This allegation turns on a point of interpretation of features [F], [G] and [H] of claim
         1. Nokia helpfully identified the differences between the parties at trial thus:

         i)       IPCom contended these features require that the mobile has to be able to tell
                  from the access class information that it definitely is allowed to attempt RACH
                  access, without consideration of the received access threshold bits.

         ii)      Nokia contended for a somewhat broader construction. These features mean
                  that the mobile can tell whether or not it is permitted to attempt RACH access
                  from the access class information.

155.     There was no dispute that if Nokia’s construction is the correct one, the patent is
         obvious over GSM/GPRS because GSM/GPRS would then have all the features of the
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         claim save for not being a UMTS system; and it would have been obvious to use the
         same technique in UMTS.

156.     Mr Meade developed his submission as follows. He argued that, as a matter of simple
         language, the words of the claim are met by class barring. To illustrate this, he
         invited us to imagine interrogating the mobile in the GSM/GPRS system, that is to say
         with class barring and a lottery. If one asked a mobile unlucky enough to be in a
         barred class: “Can you use your class to determine whether you are permitted to
         access the RACH, without referring to the lottery?”, the answer would be “Yes, I can,
         and I am not permitted to access the RACH because I am in a barred class. I do not
         need to think about the lottery to tell you that.”

157.     The judge rejected this argument at [49] – [52]. In my judgment he was right to do
         so. The natural meaning of the claim is that certain mobile stations are permitted to
         access the RACH independently of the received access threshold value bits, that is to
         say the lottery. The claim identifies two alternatives: first, allowing access to the
         RACH independent of the lottery; second, allowing access on the basis of the lottery.

158.     Second, the purpose of the invention as described in the body of the specification is to
         provide the two routes of access feature. As the judge said himself at [39]:

                   “The skilled person would appreciate that what is envisaged is
                   a system in which both access threshold value and user class
                   information are sent to the mobile stations. The setting of the
                   user class bit for any given class determines whether that class
                   is able to access the RACH without doing the lottery, or
                   whether instead it must be subjected to the lottery.”

159.     Third, the class barring scheme of GSM/GPRS was part of the common general
         knowledge. As Lord Hoffmann said in Kirin Amgen Inc v Hoechst Marion Roussel
         [2004] UKHL 46, [2005] RPC 9 at [34], in construing the words of the claim it must
         be recognised that the patentee is trying to describe something which, at any rate in
         his opinion, is new. It would therefore be surprising if the patentee had framed the
         claim so as to encompass and describe part of the common general knowledge, indeed
         one of the well known standards.

Obviousness over Farsta

160.     Nokia relied at trial upon the minutes of a meeting of the L1 Expert Group in Farsta,
         Sweden in the summer of 1987, together with a document by Thomas. As the judge
         explained, the Farsta meeting was of a GSM working group and attended by
         representatives of a number of telecommunications companies.

161.     The judge helpfully summarised the disclosure of the documents in this way at [106]
         – [110]:

                   “106. According to the minutes, a number of aspects of the
                   development of the GSM standard were discussed. Section 5
                   of the minutes is entitled “Random Access Protocol on the
                   CCCH”.       Section 5.2 is headed “Control of overload
                   situations”. It records that Mr Thomas presented a paper which
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                   describes an algorithm to control the overload. The details of
                   the algorithm do not matter, although it is an algorithm based
                   on what I have called “the lottery” which is implemented after
                   the mobile has had one unsuccessful attempt at access to the
                   channel.

                   107.      The minutes go on to explain that there was discussion
                   on special priority being given for certain user groups or
                   services and that guidance was sought from wp1, another
                   working party. They also explain that no decision could be
                   taken on how to control the load, the choice being limited to
                   controlling the probability of re-transmission and controlling
                   the re-transmission interval. The minutes continue:

                      “As an extreme measure group(s) of users could be excluded
                      from system access by order of a special BCCH message.
                      The feasability [sic] of such a measure is embedded in the
                      questions to wp1 (annex 5).”

                   108.     Annex 5 is entitled “Limiting access on a heavily
                   loaded CCCH. The Annex notes that the CCCH is a vulnerable
                   channel. It starts by explaining the limitations of reducing the
                   re-transmission rate, namely that there comes a point when the
                   quality of service is reduced to an unacceptable level. It says:

                      “If this rate is reached there is no alternative but to exclude
                      certan [sic] groups of users.

                      On the other hand it might be necessary to allow
                      ‘immediate’ access to special groups of users.”

                   109.      The Annex explains that the first measure may be
                   taken when one of two network operators in a country suffers a
                   failure, so that all its subscribers want to access the network of
                   the surviving operator. The step that would then be taken
                   would be to block all “roaming” users from the malfunctioning
                   network from accessing the other, functioning network. It
                   continues by saying:

                      “The second possibility occurs in emergency cases where
                      ‘every’ subscriber wants to access the system and the
                      overload prevents emergency services (which may be in a
                      closed user group) to access the system.”

                   110.      There then follows this paragraph, the import of which
                   is hotly contested:

                      “Wp1 is asked to give guidance to the L1EG on categories
                      that deserve special control mechanisms to access the
                      system, in order to be able to design signalling messages to
                      cope with overload situations by indicating the groups of
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                      users or services that may require special priority to access
                      the system.

                      The L1EG advises though, to limit categories to the vital
                      ones only, in view of the signalling complexity involved.””

162.     Nokia contends the document is talking about two different things: excluding some
         groups of users and allowing others immediate access. Both are directed at the same
         goal: dealing with service degradation caused by overloading.

163.     Thus, contends Nokia, Farsta teaches first, the restrictive approach of blocking
         particular classes of users; second, the permissive approach of allowing immediate
         access, that is to say an override for the emergency services.

164.     IPCom contends Nokia is reading too much into the description in Farsta and,
         moreover, doing so with the benefit of hindsight. It says Farsta is essentially
         concerned with retransmission control. Everyone is allowed to transmit once but at
         times of very high load, even if retransmission is completely prohibited, the RACH
         may still be too busy. In such a situation, allowing the emergency services freedom to
         carry on retransmitting would achieve nothing. Accordingly, Farsta is describing two
         different degrees of class barring; first, barring particular classes of users, such as all
         roaming subscribers; second, barring all users except the emergency services. This
         would clear the RACH and allow the emergency services through on their first
         attempt.

165.     The judge heard evidence on this issue from Mr Gould and Professor Purat and this
         clearly assisted him to understand the context of the publication. In light of that
         evidence and his own reading of the publication, the judge preferred IPCom’s
         submissions, as appears from [114]:

                   “Having heard and then re-read the evidence on this document I
                   prefer IPCom’s submissions. The document is not suggesting
                   any form of lottery by-pass. The situations discussed both
                   involve heavy overload of the RACH. Lowering the re-
                   transmission rate so as to lower the chance of mobiles getting
                   access is having no effect. So you either reduce the load by
                   removing a big class such as roaming subscribers from another
                   network, or you effectively stop all the traffic to let the
                   emergency services through. It would make no sense to create
                   a lottery by-pass for the emergency services onto the ex
                   hypothesi overloaded RACH.”

166.     I too have read the evidence upon which the judge relied and considered carefully the
         disclosure of the documents in light of the parties’ submissions. I also remind myself
         to be wary of the influence of hindsight. As Mr Purvis fairly submitted, no-one had
         ever implemented a lottery by-pass system by 1987, still less a system with means
         allowing adjustment of groups of users into a population with priority access to the
         network independent of access threshold while at the same time using the access
         threshold to dynamically control the access of other users. Moreover Farsta was
         produced in the course of development of the GSM system and, in due course, it used
         classes but for class barring only. In light of all these matters, I too prefer IPCom’s
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         interpretation of Farsta and believe the judge came to the right conclusion. In
         conditions of particularly heavy use, it teaches first, blocking access of particular
         groups of subscribers and second, in cases of emergency, blocking all subscribers
         save for the emergency services. This is the only interpretation consistent with the
         wording of Farsta and the general knowledge at the time. It is also consistent with the
         way GSM was ultimately implemented.

Obviousness – conclusion

167.     It follows that I believe the judge was right to reject the attacks on the patent based on
         obviousness.

Insufficiency

168.     Claim 1 of the patent, by feature [A], is to a mobile for use in a UMTS mobile radio
         network.

169.     Nokia contends that it was in fact impossible to make a mobile suitable for RACH
         access control in any actual UMTS system at the date of filing of the application
         because key elements of the UMTS system directly relevant to and necessary for
         RACH access had not yet been decided. Specifically, the missing elements included
         access class information and the details of the lottery threshold, two things which,
         argued Mr Meade, are critical to the purported invention of claim 1. Accordingly, he
         continued, UMTS protocols for RACH access just did not exist in a meaningful way.

170.     The judge rejected this contention at [176]:

                   “… The patent would not be understood to be pretending that
                   the invention would work without modification in whatever
                   UMTS system was ultimately agreed. This case is nothing like
                   a patent where there is a missing essential ingredient. The
                   cross-examination of Mr Gould did not show that a system
                   could not have been built based on the draft standards: it
                   merely showed that it would not have been possible to guess
                   what choices would be made in the final standards, and that if
                   there was a difference the phone would not work. The
                   insufficiency attack therefore fails.”

171.     I believe the judge came to the right conclusion on this issue. The patent must be
         construed as of its filing date (see Biogen v Medeva [1997] RPC 1 at 53 – 54). At that
         date the UMTS standard was in draft, albeit nearly complete. Moreover, the skilled
         person would have understood that specifications such as these change over time. In
         these circumstances it seems to me the key question is what the skilled person would
         have understood the reference to “UMTS mobile radio network” in claim 1 to mean as
         of that date. The answer to that question is, I think, clear. He would have understood
         it to be a reference to a UMTS system in accordance with the draft standard as it
         existed at that time. Since it was common ground that the skilled person would have
         had no difficulty in building a system using that draft standard, incorporating the
         description of the patent and producing a perfectly workable telephone system, it must
         follow that the patent is sufficient.
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172.     I would therefore reject this ground of appeal. Contrary to the submission advanced
         by Nokia, the patent is not claiming a mobile which could not be made.

Infringement by the A2

173.     The issue turns on the proper interpretation of feature [H] which concerns the lottery
         and requires the mobile to operate in the following way:

                   “Access permission for the [RACH] is determined on the basis
                   of an evaluation of the access threshold value by comparison of
                   the access threshold value with a random number or pseudo
                   random number.”

174.     Nokia accepts that its A1 device had this functionality because the mobile was
         capable of obtaining a random number and if it received the broadcast threshold, it
         would determine whether that threshold was bigger than the random number. If it lost
         the lottery it would try again.

175.     The A2 device works in a slightly different way. The mobile now generates a random
         number and, using both that number and the broadcast threshold, it determines a
         random delay prior to attempting RACH access. Mr Meade argued that this means it
         does not have to make repeated tries, and there is no yes/no decision based on which
         of the broadcast threshold and random number is bigger. In a nutshell, whereas the
         A1 used the random number and broadcast threshold to decide whether to attempt
         RACH access, the A2 uses those numbers to decide when to attempt RACH access.

176.     The judge described the way the A2 works in these terms at [198], citing from his 189
         judgment:

                   “In the original N96 the mobile repeatedly undertook the
                   lottery until successful, comparing the persistence value Pi and
                   the random number. In the New Device the mobile calculates
                   once and for all a timing delay, and the mobile waits that long
                   before attempting access. The delay calculation involves
                   calculating a value of “n” using both R and Pi according to the
                   following calculation:




                                              n=
                                                       (
                                                   log 1 − R
                                                               32769
                                                                       )
                                                   log1 − i       
                                                           P
                                                                    
                                                             32769 

                   If R is less than Pi the result of the equation is less than 1. The
                   software then truncates that value to zero and gives access.
                   Otherwise it is given access after a delay.

                   Nokia says that this means that there are two (additional)
                   differences from the claims of 189. Firstly there is no
                   comparison in the sense of claim 1. Secondly access to the
                   random access channel is not “assigned” on the basis of the
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                   comparison in the sense that the mobile decides whether it will
                   get access: the mobile knows it will get access and learns when
                   this will occur.

                   As to the comparison, it is plain that the delay calculation
                   depends critically on a comparison of R and Pi as these are the
                   only variables on the right hand side of the equation. Dr
                   Cooper accepted that the formula provided an indirect
                   comparison of R and Pi. I reject this distinction.

                   As to the second point, access to the channel is still assigned
                   based on a comparison of R and Pi. The fact that a delay is
                   introduced does not alter this.

                   Accordingly the differences introduced by the New Device
                   would not avoid a finding of infringement if the 189 patent
                   were valid.”

177.     Mr Meade submitted that it follows from this description there are two clear reasons
         why there is no infringement by the A2. First, the requirement in the claim that there
         be a “comparison” must mean putting two numbers side by side and determining
         which is bigger. This does not happen in the A2.

178.     Second, the words “access permission is determined on the basis of an evaluation …
         by comparison …” requires the comparison to result in a yes/no answer. It must
         result in a determination: is there or is there not to be permission? Again, this does
         not happen in the A2.

179.     The judge rejected these submissions, holding that the required evaluation by
         comparison with a random number is carried out in the A2, albeit with a more
         complex formula.

180.     I am satisfied that the judge came to the right conclusion. The calculation performed
         by the A2 does involve a comparison of the random number (R) and the access
         threshold value (Pi). If R is less than Pi then the result of the equation is less than 1
         and the system generates a zero. If it is not then the system generates a non-zero
         value.

181.     As for Nokia’s second point, the A2 does produce a yes/no answer in that, depending
         upon the result of the evaluation, access is either given immediately or after a delay.
         This, it seems to me, is a determination of access permission, and that determination
         is made on the basis of the evaluation of the access threshold value. True it is that the
         preferred embodiments do not work in quite the same way. But there is no reason to
         suppose that the patentee intended the wording of the claim to be so limited and,
         falling as it does within the natural meaning of the words used when read in the
         context of the whole specification, I am satisfied that the A2 infringes.

Conclusion

182.     For all these reasons, I would dismiss the appeal.
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Lord Justice Etherton:

183.     I agree.

Lord Justice Laws:

184.     I also agree.
